                                                      Case 2:19-cv-00180-RFB-EJY Document 94 Filed 12/28/20 Page 1 of 2



                                    1           WENDY MEDURA KRINCEK, ESQ., Bar # 6417
                                                MARCUS B. SMITH, ESQ., Bar # 12098
                                    2           KELSEY E. STEGALL, ESQ., Bar #14279
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                                    3           3960 Howard Hughes Parkway
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                                                        kstegall@littler.com
                                    7
                                                Attorneys for Defendants
                                    8           DRYBAR HOLDINGS LLC, PATRICE CAMPBELL, ZENA
                                                LONG, and KATOYA SHAW
                                    9
                                                                                  UNITED STATES DISTRICT COURT
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                                                                                      DISTRICT OF NEVADA
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                                12
                                                SHANE MICHAEL SANDOVAL, an
                                13              individual,
                                                                                                Case No. 2:19-cv-00180-RFB-EJY
                                14                                   Plaintiff,
                                                                                                STIPULATION AND ORDER TO EXTEND
                                15              vs.                                             TIME FOR DEFENDANTS TO FILE
                                                                                                REPLY IN SUPPORT OF ITS MOTION
                                16              DRYBAR HOLDINGS LLC, a foreign                  FOR SUMMARY JUDGMENT
                                                limited liability company; HUNTER
                                17              JOHNSON, in individual, RENEE
                                                ATWOOD, an individual, PATRICE                  [FIRST REQUEST]
                                18              CAMPBELL, an individual, ZENA LONG,
                                                an individual, KATOYA SHAW, AN
                                19              INDIVIDUAL, RACHEL BERNARD, an
                                                individual; and DOES 1 through 100,
                                20              inclusive,

                                21                                   Defendants.

                                22
                                                         Plaintiff   SHANE MICHAEL SANDOVAL (“Plaintiff”)              and Defendants DRYBAR
                                23
                                                HOLDINGS LLC, PATRICE CAMPBELL, and KATOYA SHAW (“Defendants”), by and through
                                24
                                                their undersigned counsel, hereby agree and stipulate to extend the time for Defendants to file their
                                25
                                                Reply in Support of its Motion for Summary Judgment with the current deadline of January 4, 2021,
                                26
                                                up to and including January 11, 2021.
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                                    1                    The requested extension is necessary in light of the upcoming holiday and the need for

                                    2           additional time to give defense counsel more time to prepare a sufficient Reply to Plaintiff’s

                                    3           Opposition.

                                    4                     This is the first request for an extension of time to file the Reply in Support of Defendants’

                                    5           Motion for Summary Judgment. This request is made in good faith and not for the purpose of delay.

                                    6           Dated: December 22, 2020

                                    7           Respectfully submitted,                         Respectfully submitted,
                                    8

                                    9           /s/ Keen L. Ellsworth                           /s/ Marcus B. Smith
                                                KEEN L. ELLSWORTH, ESQ.                         WENDY MEDURA KRINCEK, ESQ.
                                10              ELLSWORTH & BENNION, CHTD.                      MARCUS B. SMITH, ESQ.
                                                                                                KELSEY E. STEGALL, ESQ.
                                11                                                              LITTLER MENDELSON, P.C.
                                12              Attorney for Plaintiff                          Attorneys for Defendants
                                                SHANE SANDOVAL                                  DRYBAR HOLDINGS LLC, PATRICE
                                13                                                              CAMPBELL, ZENA LONG and KATOYA
                                                                                                SHAW
                                14

                                15
                                                                                                ORDER
                                16

                                17                                                              IT ISITSO
                                                                                                        IS SO ORDERED.
                                                                                                            ORDERED:
                                18                                                                      Dated: _____________________, 2020.
                                19
                                                                                               __________________________
                                20                                                             RICHARD F. BOULWARE, II
                                21                                                             United_______________________________________
                                                                                                      States District Judge
                                                                                                   UNITED STATES DISTRICT JUDGE
                                22                                                             DATED this 28th day of December, 2020.

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